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May 12, 2025

Via ECF and E-MAIL
Honorable Harvey J. Bartle III, U.S.D.J.
United States District Court for the
Eastern District of Pennsylvania
16614 U.S. Courthouse
601 Market Street
Philadelphia, Pennsylvania 19106

Re:    May 1, 2025 Order Regarding the Filing of Interrogatory Responses to Atlas Data
       Privacy Corporation’s Jurisdictional Discovery

       Atlas Data Privacy Corporation, et al. v. Delvepoint LLC, et al. bearing Civil Action
       No. 1:24-cv-04096-HB

Dear Judge Bartle:

We represent defendant Delvepoint, LLC (“Delvepoint”) in the Daniel’s Law case in the United
States District Court for the District of New Jersey assigned to your Honor captioned Atlas Data
Privacy Corporation, et al. v. Delvepoint LLC, et al. bearing Civil Action No. 1:24-cv-04096-HB.
We write pursuant to your May 1, 2025 Order calling for the filing of Defendants’ Interrogatory
Responses to Atlas Data Privacy Corporation’s Jurisdictional Discovery.

We write on behalf of Delvepoint to inform the Court that Delvepoint will join in the Letter to the
Court (“Letter”) sent on or about May 9, 2025 by counsel for the defendant in Atlas Data Privacy,
et al. v. Equimine, Inc., et al., bearing Civil Action No. 1:24-cv-04261-HB, seeking that Defendants
be permitted to send the Court hard copies of the Interrogatory Responses or in the alternative
receive an extension of time in which to file the Motions to Seal. The Letter is enclosed as Exhibit
A.

For the reasons set forth in the Letter, Delvepoint joins in the requests therein.

Respectfully submitted,


WADE CLARK MULCAHY LLP

/s/ Robert J. Cosgrove

Robert J. Cosgrove, Esq.

cc.    Rajiv Parikh, Esq.




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